Case 1:17-cv-00604-CFC-SRF Document 26 Filed 08/14/17 Page 1 of 3 PageID #: 492




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 MARCO DODA, DODA USA, INC., AND      )
 DODA COSTRUZIONE MACCHINE            )
 AGRICOLE, DI DODA ALDO E C. SNC,     )
                                      )
                    Plaintiffs,       )
                                      )
             v.                       )                 C.A. No. 17-604 (GMS)
                                      )
 WASTE MANAGEMENT, INC., WM           )
 INTELLECTUAL PROPERTY HOLDINGS, )
 LLC, WASTE MANAGEMENT NATIONAL )
 SERVICES, INC., and JAMES L. DENSON, )
 JR.,                                 )
                                      )
                    Defendants.       )

   DEFENDANTS’ MOTION TO DISMISS COUNT I AGAINST WMI & WMNS AND
  COUNTS IV & V IN THEIR ENTIRETY UNDER FED. R. CIV. P. 12(b)(1) OR 12(b)(6)


        Defendants Waste Management, Inc. (“WMI”); WM Intellectual Property Holdings,

 LLC; Waste Management National Services, Inc. (“WMNS”); and James L. Denson, Jr.,

 respectfully request that the Court dismiss Count I of the First Amended Complaint (D.I. 22 at

 22–24) against WMI and WMNS under Fed. R. Civ. P. 12(b)(6) and Counts IV & V (id. at 26–

 29) in their entirety under Fed. R. Civ. P. 12(b)(1) for lack of subject matter jurisdiction, or in the

 alternative, under Fed. R. Civ. P. 12(b)(6) for failure to state a claim. The grounds for this

 motion are set forth in Defendants’ Opening Brief submitted herewith.
Case 1:17-cv-00604-CFC-SRF Document 26 Filed 08/14/17 Page 2 of 3 PageID #: 493




                                     MORRIS, NICHOLS, ARSHT & TUNNELL LLP


                                     /s/ Megan E. Dellinger
                                     Karen Jacobs (#2881)
                                     Megan E. Dellinger (#5739)
                                     1201 North Market Street
                                     P.O. Box 1347
                                     Wilmington, DE 19899-1347
                                     (302) 658-9200
                                     kjacobs@mnat.com
                                     mdellinger@mnat.com
                                      Attorneys for Waste Management, Inc.,
                                      WM Intellectual Property Holdings, LLC,
                                      Waste Management National Services, Inc., and
                                      James L. Denson, Jr.

 OF COUNSEL:

 David M. Stein
 H. Josh Ji
 GREENBERG GROSS LLP
 650 Town Center Drive
 Suite 1700
 Costa Mesa, CA 92626

 August 14, 2017
 11238764




                                       2
Case 1:17-cv-00604-CFC-SRF Document 26 Filed 08/14/17 Page 3 of 3 PageID #: 494




                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 14, 2017, I caused the foregoing to be electronically filed

 with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

 registered participants.

        I further certify that I caused copies of the foregoing document to be served on

 August 14, 2017, upon the following in the manner indicated:

 Brett D. Fallon                                                         VIA ELECTRONIC MAIL
 Mary B. Matterer
 MORRIS JAMES LLP
 500 Delaware Avenue, Suite 1500
 Wilmington, DE 19801-1494

 Attorneys for Plaintiffs Marco Doda, DODA
 USA, Inc., and DODA Costruzione Macchine
 Agricole, di Doda Aldo e C. snc

 Donald Chance Mark, Jr.                                                 VIA ELECTRONIC MAIL
 Patrick J. Rooney
 Tyler P. Brimmer
 FAFINSKI MARK & JOHNSON, P.A.
 Flagship Corporate Center
 775 Prairie Center Drive, Suite 400
 Eden Prairie, MN 55344

 Attorneys for Plaintiffs Marco Doda, DODA
 USA, Inc., and DODA Costruzione Macchine
 Agricole, di Doda Aldo e C. snc




                                              /s/ Megan E. Dellinger
                                              Megan E. Dellinger (#5739)
